Case: 1:99-cr-00279-DCN Doc #: 121 Filed: 08/15/07 1 of 1. PageID #: 21




  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 Jermaine L. Levy,                                )
                                                  )    CASE NO.1:07CV1806
                Petitioner,                       )            1:02CV0671
                                                  )            1:99CR0279
        v.                                        )
                                                  )    JUDGMENT ENTRY
 United States of America,                        )    (Case No. 1:07CV1806, Doc. No. 1).
                                                  )    (Case No. 1:02CV0671, Doc. No. 24)
                Respondent.                       )
                                                  )

        For the reasons stated in the Memorandum Opinion filed contemporaneously with this

 Judgment Entry, it is hereby ORDERED, ADJUDGED and DECREED that in Case No.

 1:07CV1806, Petitioner Jermaine Levy’s second petition for relief pursuant to 28 U.S.C. Section

 2255 is denied. Further, Petitioner’s Motion for Relief from Judgment pursuant to Fed. R. Civ. P.

 60(b) in Case No. 1:02CV0671, which the Court construes as a successive petition made

 pursuant to 28 U.S.C. 2255, is also denied.

        Pursuant to 28 U.S.C. Section 2253(c) and Fed. R. App. P. 22(b), the Court declines to

 issue a certificate of appealability.



        IT IS SO ORDERED.


  August 13, 2007                                /s/ David D. Dowd, Jr.
 Date                                          David D. Dowd, Jr.
                                               U.S. District Judge
